Case 2:O4-Cv-O2902-.]P|\/|-tmp Document 20 Filed 06/13/05 Page 1 of 2 Page|D 25

_ n,e.
IN THE UNITED sTATEs D1sTR1CT CoURT \'“F=D B" g "
FoR THE WESTERN DISTRICT oF TENNESSEE 3. 26
WESTERN DIVISIoN 05 JUH -'l PH '
. . D`|_ §RGLZO
Umted States of Amer1ca, F(i;?§§§l' §‘3_'"§-_;;'5;;1'5(.;"1[§
l WD Or: \i‘~l, MEN'I l
Plamtiff,
vs. Civil Case No. 04-2902-Ml

One 2002 Chevrolet Avalanche,
VIN 3GNEKI3T62G13 1404, With All
Appunenances and Attachments Thereon,

'I`hirty Nine Thousand Dollars ($39, 000. 00)
in United States Currency,

Defendants.

 

ORDER EX'I`ENDING MOTION DEADLINE

 

Upon motion of the United States, and without opposition from the Claimant, the deadline for

filing potentially dispositive motions in the above-styled case is extended

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IT is so 0RDERE1), 11113_9; day of \\ u\-.o_ , 2005.

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UNITED STATES-BI‘S'T'R'I€TJ DGE

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APPROVED:

TERRELL L. HARRIS
United States Attorney

C istopher E. Cotten
Assistant United States Attorney

Thls document entered on the docket sheet in compliance
with Rule 58 and/Or ?Q(a) FRCF’ on

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Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Timothy A. Langford

LAW OFFICES OF TIMOTHY A. LANGFORD
P.O. Box 167

Hickman7 KY 42050

Blair Beavers Evans

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Timothy C. Naifeh

LAW OFFICES OF TIMOTHY C. NAIFEH
227 Church St.

Tiptonville7 TN 38079

Honorable J on McCalla
US DISTRICT COURT

